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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DENISE RICHARDSON               )
                                )
            Plaintiff,          )
                                )
v.                              )                          No.
                                )
THE UNITED STATES OF AMERICA,   )
FREEDOM PATH HINES II LIMITED   )
PARTNERSHIP, HINES VETERANS     )
RESIDENCES LIMITED PARTNERSHIP, )                          Jury Trial Demanded
AFFORDABLE HOUSING              )
SOLUTIONS, INC., CFV HINES II   )
VETERAN RESIDENCES, LLC,        )
BENEFICIAL COMMUNITIES, LLC     )
and/or OTHER UNKNOWN            )
OWNERS, UNKNOWN AGENTS,         )
and UNKNOWN DEFENDANTS,         )
                                )
            Defendants.         )

                                   COMPLAINT AT LAW

       NOW COMES Plaintiff, DENISE RICHARDSON, by and through her attorneys Peter A.

Cantwell, Esq. and Eliot D. Hellman, for her Complaint against Defendants, THE UNITED

STATES OF AMERICA, FREEDOM PATH HINES II LIMITED PARTNERSHIP, HINES

VETERANS RESIDENCES LIMITED PARTNERSHIP, AFFORDABLE HOUSING

SOLUTIONS, INC., CFV HINES II VETERAN RESIDENCES, LLC, BENEFICIAL

COMMUNITIES, LLC and/or UNKNOWN OWNERS, UNKNOWN AGENTS, and

UNKNOWN DEFENDANTS, states as follows:

                                      INTRODUCTION

   1. On March 24, 2018, the Plaintiff, Denise Richardson, was gravely injured as a result of

slipping and falling on a puddle of liquid on the floor at the Extended Care Center (“ECC”) of
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the Edward Hines, Jr. Department of Veterans Affairs Hospital. (“the Hospital”) At the time of

her accident, Ms. Richardson was visiting her brother, who is a resident of the ECC.

   2. As she walked down an interior hallway, Ms. Richardson suddenly, and inexplicably, felt

her legs slide out from under her, and she toppled to the floor. It was only after her fall that Ms.

Richardson noticed a liquid that had pooled on the floor. Ms. Richardson also noticed that the

liquid was emanating from a break room or snack room situated off the hallway.

   3. The ECC occupies its own, free-standing building that is situated on a parcel of land

owned by the United States Department of Veterans Affairs. (“the Department”) As a federal

agency, the Department’s status as landowner makes the United States subject to suit, pursuant to

the Federal Tort Claims Act.

   4. In addition to its location on the general medical campus owned entirely by the

Department, and its affiliation with the Hospital, the ECC is also subject to various lease and

management interests held by the other Defendants, Freedom Path Hines II Limited Partnership,

Hines Veterans Residences Limited Partnership, Affordable Housing Solutions, Inc., CFV Hines

II Veteran Residences, LLC, and Beneficial Communities, LLC.

                                 JURISDICTION AND VENUE

   5. Pursuant to 28 U.S.C. §1346(b), also known as the Federal Tort Claims Act (“FTCA”),

and 28 U.S.C. § 2671 this Court has original jurisdiction over Plaintiff’s causes of action for the

negligent or wrongful acts or omissions of an employee of the United States government.

   6. Pursuant to 28 U.S.C. § 2675, the Plaintiff filed a claim for damages with the Department

on April 12, 2019, alleging that she was injured while on the premises of the Hospital, a property

owned by the Department. (Ex. A)

   7. The Plaintiff’s claim was denied by the Department on December 30, 2019 (Ex. B), thus

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satisfying the jurisdictional requirements imposed by 28 U.S.C. § 2675.

   8. Pursuant to 28 U.S.C. § 1391, venue properly lies in the Northern District of Illinois

because all of the events giving rise to Plaintiff’s claims occurred in Cook County, Illinois.

   9. Pursuant to § 42 U.S.C. 1367, this Court also has the power to hear and adjudicate the

plaintiff’s concurrent claims arising under state law.

                                             PARTIES

   10. At all times relevant herein, Plaintiff, DENISE RICHARDSON, was and still is a resident

of the Village of Elmwood Park, County of Cook, and State of Illinois.

   11. At all times relevant herein, the Department was a federal agency of the UNITED

STATES OF AMERICA.

   12. At all times relevant herein, FREEDOM PATH HINES II LIMITED PARTNERSHIP,

was an Illinois limited partnership, organized and existing under the laws of the State of Illinois,

and was licensed and authorized to transact business in the State of Illinois and was in fact

transacting business in this State.

   13. At all times relevant herein, CFV HINES II VETERAN RESIDENCES, LLC, was an

Illinois limited liability company, organized and existing under the laws of the State of Illinois,

and was licensed and authorized to transact business in the State of Illinois and was in fact

transacting business in this State.

   14. At all times relevant herein, HINES VETERANS RESIDENCES LIMITED

PARTNERSHIP was a foreign limited partnership, organized and existing under the laws of the

State of Florida, and was licensed and authorized to transact business in the State of Illinois and

was in fact transacting business in this State.

   15. At all times relevant herein, AFFORDABLE HOUSING SOLUTIONS, INC. was a

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foreign not-for-profit corporation, organized and existing under the laws of the State of Georgia,

and was licensed and authorized to transact business in the State of Illinois and was in fact

transacting business in this State.

    16. At all times relevant herein, BENEFICIAL COMMUNITIES, LLC was a foreign limited

liability company, organized and existing under the laws of the State of Florida, and was licensed

and authorized to transact business in the State of Illinois and was in fact transacting business in

this State.

    17. Upon information and belief, UNKNOWN OWNERS and UNKNOWN DEFENDANTS

held and continue to hold an ownership interest in the Premises, and at all times relevant herein,

UNKNOWN OWNERS and UNKNOWN DEFENDANTS owned, operated, managed,

maintained, and controlled the Premises.

                                         BACKGROUND

    18. The Department is the rightful owner of a property encompassing more than 200 acres in

Hines, Illinois, generally bordered by Roosevelt Rd. to the north, South 9th Avenue to the west,

South 1st Avenue to the east, and train tracks owned by the Canadian National Railway to the

south. (“the Property”) Situated upon the Property are numerous buildings that can be generally

organized into two groups: The Edward Hines VA Hospital (“the Hines VA”) and its associated

buildings and offices (together “the Hines Campus”) and the University of Loyola Medical

Center (“Loyola”), and its associated buildings and offices. (together “the Loyola Campus”)

    19. On March 24, 2018, Plaintiff entered onto the Property and made her way to the Hines

Campus for the purpose visiting her brother who is a resident of the Hines VA Extended Care

Center, located in Building 217. (“the ECC” or “the Premises”)

    20. At all times relevant herein, Plaintiff was lawfully upon the Premises as an invitee.

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   21. While inside the Premises, the Plaintiff was walking down an interior, common hallway

where, unbeknownst to her, a puddle of water or other liquid had formed on the floor.

   22. Despite walking at a reasonable pace and exercising due care for her own safety, the

Plaintiff did not observe or detect the puddle of liquid. As she proceeded down the hallway,

Plaintiff inadvertently stepped in the puddle, causing her to slip, lose her balance, and topple to

the floor causing injury to her shoulder and back, among other things.

   23. Prior to her fall, Plaintiff had no reason to expect she would encounter a puddle of liquid

in the otherwise clean corridors of a medical facility. Warning signs were not erected or posted

in the hallway, and Plaintiff made no observations indicating that the floor was wet and slippery.

   24. Immediately after the fall, Plaintiff examined her surroundings and noted that she had

slipped in a puddle of liquid, which she believed at the time to be water. She further noted that

the puddle had formed as a result of liquid that appeared to be emanating from a nearby snack

room or break room.

                                   COUNT I – NEGLIGENCE
                                (UNITED STATES OF AMERICA)

   25. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant UNITED STATES OF AMERICA, through

its federal agency, the Department, owned, operated, managed, maintained, and controlled the

Premises.

   26. At the time and place alleged above, Defendant, its employees and agents, had a duty to

use reasonable care in the ownership, operation, management, maintenance, and control of the

Premises, including but not limited to the interior hallways of the ECC.

   27. Contrary to and in breach of the aforesaid duty, Defendant, its employees and agents,

committed one or more of the following negligent acts or omissions:
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           a. Failed to inspect the Premises to ascertain the presence of the liquid substance
              where Plaintiff fell.

           b. Caused or allowed a liquid substance to be present in the hallway presenting an
              unreasonably dangerous condition, when it knew or should have known of the
              presence of such liquid substance.

           c. Failed to timely and properly maintain the hallway so as to provide a safe walking
              surface.

           d. Failed to provide any type of warning concerning the unsafe condition of the
              hallway of the Premises when it knew, or in the exercise of ordinary care should
              have known, that a warning was necessary for the safety of those lawfully upon
              the premises, including the Plaintiff.

           e. Failed to properly remove the liquid substance that had accumulated on the floor
              of the hallway where Plaintiff was caused to fall.

           f. Failed to make reasonable inspection of the Premises, including but not limited to
              the hallway, when it knew or in the exercise of ordinary care, should have known
              that said inspection was necessary to prevent injury to the Plaintiff and others
              lawfully on the Premises;

           g. Allowed the hallway to remain in a dangerously slippery condition, making it
              unfit for passage, for an unreasonable length of time;

           h. Was otherwise careless and/or negligent in the ownership, operation,
              maintenance, and management of the subject establishment.

   28. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the UNITED STATES OF AMERICA, the Plaintiff, DENISE RICHARDSON,

sustained injuries of a personal, pecuniary and permanent nature and was injured, both physically

and mentally, and has suffered and will in the future suffer great physical and emotional pain and

discomfort, and physical and emotional impairment and disability and physical disfigurement, all

of which injuries are permanent; and the Plaintiff has been and will be prevented from attending

to her ordinary affairs and duties, and has become liable for certain sums of money for medical

care and attention.

   WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the
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Defendant, the UNITED STATES OF AMERICA, in an amount to be determined at trial, plus

costs of this suit, and all other just and equitable relief.

                                 COUNT II – Negligence
                       FREEDOM PATH HINES II LIMITED PARTNERSHIP

    29. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    30. At the time and place alleged above, Defendant, FREEDOM PATH HINES II LIMITED

PARTNERSHIP, its employees and agents, had a duty to use reasonable care in the ownership,

operation, management, maintenance, and control of the Premises, including but not limited to

the interior hallways of the ECC.

    31. Contrary to and in breach of the aforesaid duty, Defendant, its employees and agents,

committed one or more of the following negligent acts or omissions:

            a. Failed to inspect the Premises to ascertain the presence of the liquid substance
               where Plaintiff fell.

            b. Caused or allowed a liquid substance to be present in the hallway presenting an
               unreasonably dangerous condition, when it knew or should have known of the
               presence of such liquid substance.

            c. Failed to timely and properly maintain the hallway so as to provide a safe walking
               surface.

            d. Failed to provide any type of warning concerning the unsafe condition of the
               hallway of the Premises when it knew, or in the exercise of ordinary care should
               have known, that a warning was necessary for the safety of those lawfully upon
               the premises, including the Plaintiff.

            e. Failed to properly remove the liquid substance that had accumulated on the floor
               of the hallway where Plaintiff was caused to fall.

            f. Failed to make reasonable inspection of the Premises, including but not limited to
               the hallway, when it knew or in the exercise of ordinary care, should have known
               that said inspection was necessary to prevent injury to the Plaintiff and others
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                lawfully on the Premises;

            g. Allowed the hallway to remain in a dangerously slippery condition, making it
               unfit for passage, for an unreasonable length of time;

            h. Was otherwise careless and/or negligent in the ownership, operation,
               maintenance, and management of the subject establishment.

    32. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

        WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the

Defendant, the FREEDOM PATH HINES II LIMITED PARTNERSHIP, in an amount to be

determined at trial, plus costs of this suit, and all other just and equitable relief.

                           COUNT III - NEGLIGENCE
              (HINES VETERANS RESIDENCES LIMITED PARTNERSHIP)

    33. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    34. At the time and place alleged above, Defendant, HINES VETERANS RESIDENCES

LIMITED PARTNERSHIP, its employees and agents, had a duty to use reasonable care in the

ownership, operation, management, maintenance, and control of the Premises, including but not

limited to the interior hallways of the ECC.

    35. Contrary to and in breach of the aforesaid duty Defendant, its employees and agents,
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committed one or more of the following negligent acts or omissions:

             a. Failed to inspect the Premises to ascertain the presence of the liquid substance
                where Plaintiff fell.

             b. Caused or allowed a liquid substance to be present in the hallway presenting an
                unreasonably dangerous condition, when it knew or should have known of the
                presence of such liquid substance.

             c. Failed to timely and properly maintain the hallway so as to provide a safe
                walking surface.

             d. Failed to provide any type of warning concerning the unsafe condition of the
                hallway of the Premises when it knew, or in the exercise of ordinary care should
                have known, that a warning was necessary for the safety of those lawfully upon
                the premises, including the Plaintiff.

             e. Failed to properly remove the liquid substance that had accumulated on the
                floor of the hallway where Plaintiff was caused to fall.

             f. Failed to make reasonable inspection of the Premises, including but not limited
                to the hallway, when it knew or in the exercise of ordinary care, should have
                known that said inspection was necessary to prevent injury to the Plaintiff and
                others lawfully on the Premises;

             g. Allowed the hallway to remain in a dangerously slippery condition, making it
                unfit for passage, for an unreasonable length of time;

             h. Was otherwise careless and/or negligent in the ownership, operation,
                maintenance, and management of the subject establishment.

   36. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

       WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the
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Defendant, HINES VETERANS RESIDENCES LIMITED PARTNERSHIP, in an amount to be

determined at trial, plus costs of this suit, and all other just and equitable relief.

                               COUNT IV - NEGLIGENCE
                        (AFFORDABLE HOUSING SOLUTIONS, INC.)

    37. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    38. At the time and place alleged above, Defendant, AFFORDABLE HOUSING

SOLUTIONS, INC., its employees and agents, had a duty to use reasonable care in the

ownership, operation, management, maintenance, and control of the Premises, including but not

limited to the interior hallways of the ECC.

    39. Contrary to and in breach of the aforesaid duty, Defendant, its employees and agents,

committed one or more of the following negligent acts or omissions:

              a. Failed to inspect the Premises to ascertain the presence of the liquid substance
                 where Plaintiff fell.

              b. Caused or allowed a liquid substance to be present in the hallway presenting an
                 unreasonably dangerous condition, when it knew or should have known of the
                 presence of such liquid substance.

              c. Failed to timely and properly maintain the hallway so as to provide a safe
                 walking surface.

              d. Failed to provide any type of warning concerning the unsafe condition of the
                 hallway of the Premises when it knew, or in the exercise of ordinary care should
                 have known, that a warning was necessary for the safety of those lawfully upon
                 the premises, including the Plaintiff.

              e. Failed to properly remove the liquid substance that had accumulated on the
                 floor of the hallway where Plaintiff was caused to fall.

              f. Failed to make reasonable inspection of the Premises, including but not limited
                 to the hallway, when it knew or in the exercise of ordinary care, should have
                 known that said inspection was necessary to prevent injury to the Plaintiff and
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                  others lawfully on the Premises;

              g. Allowed the hallway to remain in a dangerously slippery condition, making it
                 unfit for passage, for an unreasonable length of time;

              h. Was otherwise careless and/or negligent in the ownership, operation,
                 maintenance, and management of the subject establishment.

    40. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

        WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the

Defendant, the AFFORDABLE HOUSING SOLUTIONS, INC., in an amount to be determined

at trial, plus costs of this suit, and all other just and equitable relief.

                                COUNT V - NEGLIGENCE
                        (CFV HINES II VETERAN RESIDENCES, LLC)

    41. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    42. At the time and place alleged above, Defendant, CFV HINES II VETERAN

RESIDENCES, LLC, its employees and agents, had a duty to use reasonable care in the

ownership, operation, management, maintenance, and control of the Premises, including but not

limited to the interior hallways of the ECC.

    43. Contrary to and in breach of the aforesaid duty Defendant, its employees and agents,
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committed one or more of the following negligent acts or omissions:

             a. Failed to inspect the Premises to ascertain the presence of the liquid substance
                where Plaintiff fell.

             b. Caused or allowed a liquid substance to be present in the hallway presenting an
                unreasonably dangerous condition, when it knew or should have known of the
                presence of such liquid substance.

             c. Failed to timely and properly maintain the hallway so as to provide a safe
                walking surface.

             d. Failed to provide any type of warning concerning the unsafe condition of the
                hallway of the Premises when it knew, or in the exercise of ordinary care should
                have known, that a warning was necessary for the safety of those lawfully upon
                the premises, including the Plaintiff.

             e. Failed to properly remove the liquid substance that had accumulated on the
                floor of the hallway where Plaintiff was caused to fall.

             f. Failed to make reasonable inspection of the Premises, including but not limited
                to the hallway, when it knew or in the exercise of ordinary care, should have
                known that said inspection was necessary to prevent injury to the Plaintiff and
                others lawfully on the Premises;

             g. Allowed the hallway to remain in a dangerously slippery condition, making it
                unfit for passage, for an unreasonable length of time;

             h. Was otherwise careless and/or negligent in the ownership, operation,
                maintenance, and management of the subject establishment.

   44. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

       WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the
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Defendant, the CFV HINES II VETERAN RESIDENCES, LLC, in an amount to be determined

at trial, plus costs of this suit, and all other just and equitable relief.

                                  COUNT VI - NEGLIGENCE
                              (BENEFICIAL COMMUNITIES, LLC)

    45. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    46. At the time and place alleged above, Defendant, BENEFICIAL COMMUNITIES, LLC,

its employees and agents, had a duty to use reasonable care in the ownership, operation,

management, maintenance, and control of the Premises, including but not limited to the interior

hallways of the ECC.

    47. Contrary to and in breach of the aforesaid duty Defendant, its employees and agents,

committed one or more of the following negligent acts or omissions:

              a. Failed to inspect the Premises to ascertain the presence of the liquid substance
                 where Plaintiff fell.

              b. Caused or allowed a liquid substance to be present in the hallway presenting an
                 unreasonably dangerous condition, when it knew or should have known of the
                 presence of such liquid substance.

              c. Failed to timely and properly maintain the hallway so as to provide a safe
                 walking surface.

              d. Failed to provide any type of warning concerning the unsafe condition of the
                 hallway of the Premises when it knew, or in the exercise of ordinary care should
                 have known, that a warning was necessary for the safety of those lawfully upon
                 the premises, including the Plaintiff.

              e. Failed to properly remove the liquid substance that had accumulated on the
                 floor of the hallway where Plaintiff was caused to fall.

              f. Failed to make reasonable inspection of the Premises, including but not limited
                 to the hallway, when it knew or in the exercise of ordinary care, should have
                 known that said inspection was necessary to prevent injury to the Plaintiff and
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                  others lawfully on the Premises;

              g. Allowed the hallway to remain in a dangerously slippery condition, making it
                 unfit for passage, for an unreasonable length of time;

              h. Was otherwise careless and/or negligent in the ownership, operation,
                 maintenance, and management of the subject establishment.

    48. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendant, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

        WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the

Defendant, the BENEFICIAL COMMUNITIES, LLC, in an amount to be determined at trial,

plus costs of this suit, and all other just and equitable relief.

                           COUNT VII - NEGLIGENCE
                  (UNKNOWN OWNERS, AGENTS, AND DEFENDANTS)

    49. Plaintiff incorporates, restates and re-alleges paragraphs 1 through 24 as though fully set

forth herein. At all times relevant herein, Defendant, owned, operated, managed, maintained,

and controlled the Premises.

    50. At the time and place alleged above, Defendants, UNKNOWN OWNERS, UNKNOWN

AGENTS, AND UNKNOWN DEFENDANTS, their employees and agents, had a duty to use

reasonable care in the ownership, operation, management, maintenance, and control of the

Premises, including but not limited to the interior hallways of the ECC.

    51. Contrary to and in breach of the aforesaid duty, Defendant(s), their employees and
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agents, committed one or more of the following negligent acts or omissions:

             a. Failed to inspect the Premises to ascertain the presence of the liquid substance
                where Plaintiff fell.

             b. Caused or allowed a liquid substance to be present in the hallway presenting an
                unreasonably dangerous condition, when it knew or should have known of the
                presence of such liquid substance.

             c. Failed to timely and properly maintain the hallway so as to provide a safe
                walking surface.

             d. Failed to provide any type of warning concerning the unsafe condition of the
                hallway of the Premises when it knew, or in the exercise of ordinary care should
                have known, that a warning was necessary for the safety of those lawfully upon
                the premises, including the Plaintiff.

             e. Failed to properly remove the liquid substance that had accumulated on the
                floor of the hallway where Plaintiff was caused to fall.

             f. Failed to make reasonable inspection of the Premises, including but not limited
                to the hallway, when it knew or in the exercise of ordinary care, should have
                known that said inspection was necessary to prevent injury to the Plaintiff and
                others lawfully on the Premises;

             g. Allowed the hallway to remain in a dangerously slippery condition, making it
                unfit for passage, for an unreasonable length of time;

             h. Was otherwise careless and/or negligent in the ownership, operation,
                maintenance, and management of the subject establishment.

   52. As a direct and proximate result of one or more of said wrongful acts or omissions of the

Defendants, the Plaintiff, DENISE RICHARDSON, sustained injuries of a personal, pecuniary

and permanent nature and was injured, both physically and mentally, and has suffered and will in

the future suffer great physical and emotional pain and discomfort, and physical and emotional

impairment and disability and physical disfigurement, all of which injuries are permanent; and

the Plaintiff has been and will be prevented from attending to her ordinary affairs and duties, and

has become liable for certain sums of money for medical care and attention.

       WHEREFORE, the Plaintiff, DENISE RICHARDSON, prays for judgment against the
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Defendants, UNKNOWN OWNERS, UNKNOWN AGENTS, AND UNKNOWN

DEFENDANTS, in an amount to be determined at trial, plus costs of this suit, and all other just

and equitable relief.

                                                    Respectfully Submitted,
                                                    DENISE RICHARDSON

                                                    By: /s/Peter A. Cantwell
                                                         One of Her Attorneys

Peter A. Cantwell, Esq.
Eliot D. Hellman, Esq.
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